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Exhibit 1

Expert Witness Report
Gregory S. Blimling, Ph.D.

 

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Tafari A. Haynes vs. C|arion University of Penns\/|vania et a|,
E)<pert Witness Report

Gregory S. B!imiing, Ph.D.
2960 Casalon Circ|e
Superior, CO 80027

 

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Biographica| Si<etch

Gregory S. Blimling, Ph.D.

Dr. Gregory Blirnling retired in 2016 as a professor in the Rutgers University Graduate Schooi of
Education where he taught coliege student affairs and higher education in the department of
Educational Psychoiogy. Prior to retiring, he served for 43 years as a student affairs administrator and
professor, 22 years of which as a chief student affairs officer. He was Vice President for Student Affairs
at Rutgers University for 8 years and Vice Chanceilor for Student Development at Appaiachian State
University in North Caroiina for 14 years. Prior to joining Appa|achian as a vice chancellor and professor
in the Department of Human Deveioprnent and Psychoiogica| Counseiing, Dr. Biim|ing served as Dean of
Students at Louisiana State University - Baton Rouge and in other administrative roles eariier in his
career. He received his Ph.D. in Educationa| Po|icy and i_eadership in i-iigher Education and
Coi|ege Student Personnei Worl< from Ohio State University. His master's degree in Coliege
Student Personne| Administration and his bachelor's degree are from indiana University.

Dr. Biimling is the author, co-author, or editor of 7 books about coi|ege students and an extensive
number ofjournal articles, academic papers, monographs, and other schoiariy contributions in higher
education and student affairs. His most recent book is Student i_earning in Col|ege Residence Hal|s:
What Works, What Doesn't, and Why (Wiley/Jossey Bass, 2015}. For 9 years, he served as the
Editor of the lourna| of Coilege Student Deveioprnent, higher education’s leading academic journai
about the psychosocia| For 6 years, he served as a Senior Schoiarfor ACPA - College Student
Educators lnternationai, and for 2 years as the co~chair of the national study group that Wrote
the Princip|es of Good Practice for Student Affairs. in 2004, Dr. Biirnling was eiected President
of ACPA - College Student Educators internationai, one of two national professional and cognitive
development of co|iege students associations for student affairs administrators and educators.

Dr. B|im|ing’s scholarship and administration of student affairs have been recognized by a number of
national awards including the Contribution to Knowiedge Award (ACPA), the Outstanding Contributi'on
to literature and Reseorch Award (NA$PA), the Dr'ssertcrtr'on of the Yeor Award (NASPA), and by o
number ofregionaiandstate awardsinciuding the North Carolina Distinguished Scho|ar Award for
student affairs, and the Southern Association of Coi|ege Student Affairs Meivene Hardee Award
for Outstanding Achievement in Student Personnel Wor|<. |-ie aiso has received awards for his
schoiarship and administration in student affairs from Ohio State University, indiana University,
Western illinois University, and Bowiing Green State University. in 2012, the Rutgers University
Graduate Schoo| of Education awarded him the Distinguished Leader in Education (Academia) Award for
significant scholariy contributions and leadership in the fieid of education, their highest national award
for academic accompiishment.

 

 

 

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Tatari A. iiaynes Vs. C|arion University of Pennsyivania et a|.
Review and Ana|ysis
Gregory S. Biimiing, Ph.D.

l was retained by the i_aw Oifices of Dana Bazeion, LLC, and Ross Legai Practice to review documents,
transcripts and depositions in the case of i'afari A. i-iaynes vs. Ciarion University of Pennsyivania, et ai.
and to give my opinion concerning the procedures and processes used to expel Mr. Haynes from C|arion
University in 2013. in doing so, | was asked to identify due process irreguiarities in the student conduct
procedures, the grades he received for the semester he was expe|ied, and issues related to concurrent
criminal and discipiinary cases involving an enrolled student. in addition, l was asked to address the
application of Titie iX ofthe Educotion Amendrnents of1972, 20 U.$.C. §1681 et seq sexual assauit
guideiines reiated to this case. Fina§iy, i was asked to give my opinion as a student affairs professional
about how the university met its fiduciary responsibility to attend to the welfare of N|r. Haynes
subsequent to the accusations of misconduct made against him by __

i reviewed the material referenced in Appendix | of this report between iune 6, 2017 and June 25, 2017.
i\/|y opinions are based on a review of the documents, transcripts, exhibits, and depositions listed and are
based on rny 43 years of experience in student affairs administration as a co|iege administrator and
professor. i did not interview any of the defendants referenced in the case nor have | met or interviewed

|V|r. HHVH€S Or_

Due Process issues

interim Suspension: On October 27, 2013 |Vir. Haynes was arrested by the C|arion University Po|ice
pursuant to a claim of rape made by_. The Coordinator for iudicia| Affairs and Residence
Liie, |Vir. Shaffer, received a telephone call from C|arion University Poiice notifying him of the aileged
sexuai assaultl i\/lr. Shaffer contacted i\/lr. Tripp, the Vice President for Student and University Atfairs, and
together they decided to suspend iVir. Haynes from Ciarion University for an interim period ot ten
business days, prohibit him from being on Ciarion University property without prior approvai, prohibited
him from any contact with the compiainant, _ and prohibited him not oniy from attending
his classes but also from taking any of his classes oniine while he was off-campus

The decision to suspend i\/ir. Haynes was made without interviewing the compiainant, _
without interviewing i\/ir. |-iaynes, and without corroborating evidence to support _s
aliegation. it is my opinion that Vice President Tripp and ivir. Shaffer acted precipitously without
sufficient evidence and without regard 1for the impact of this decision on |\/ir. |-iaynes. The decision to
invoke interim suspension disregarded his right to the presumption ofinnocence and set in motion a
chain of events that ultimately denied i\/ir. i-iaynes a fair and impartial resolution to the allegations

i'he decision to suspend iVir. Haynes from Ciarion University without a hearing and deny him access to
ciasses, friends, faculty, and institutional resources imposed on the University a duty to show that i\/|r.
l-iaynes presented an ”immeo'r'ote threat of horm” to himseii"`, ”other students university personnei, or to
university property” (Pennsyivania Code, title 22, Part X\/|i, Board of Governors Pennsyivania State Systern
of i-iigher Education, Chapter 505 (Student Personne|), Student Discip|inary Due Process, sec. 505.9).

There is nothing in the depositions documents, hearing transcripts, or ernei| correspondence to suggest
that |\/ir. |-iaynes presented an "imrnediate threat” of harm to himse|f, others in the university community,
or to university property. The allegation against ivir. |-iaynes was that he forced himself on -

a young woman with whom he had a social relationship She never alleged that he was

 

 

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physically violent with her, and there was nothing in his record to suggest that he posed a physical threat
to others on campusl i\/ir. Haynes made no verbal or written threats of violence, had no discipiinary
history of violent behavior, no criminai record of violent behavior, and there was no evidence that he was
contempiating any behavior that placed others at risk.

Absent an immediate threat of harm to others in the university community, ivir. Shaffer and Vice
President Tripp had an obligation to assume that Mr. |-iaynes was innocent of the allegations made by the
complainant and aiiow him to continue his education while he worked to resolve the pending criminal
matter and disciplinary charges arising from the allegationsl Vice President Tripp and i\/ir. Shaffer made
an error in judgment when they suspended |Vlr. i-iaynes based on an unproven allegation and the decision
by iaw enforcement authorities to charge him with a crime.

By suspending ivir. i~iaynes from C|arion University without at least a preiiminary hearing to guard against
mistaken information and to base a decision to suspend him soie|y on the uncorroborated allegation of
one student - an aiiegation iVir. Haynes denied ~ the University treated |Vir. i-iaynes unfairiy and contrary
to its published policies Mr. Haynes' iife was significantly disrupted,' and, he was denied access to the
very resources, support, and personnei he needed to aid him in preparing his response to the disciplinary
charges Had i\/ir. Haynes continued to attend Ciarion University, it is entirely possible that with the
support of University personnel and the assistance of his attorney he could have negotiated an
institutional accommodation that wouid have allowed him to resolve the pending criminal charges prior
to the adjudication of the charges before the University Conduct Board (UCB) or at the ieast, obtain the
resuits of_s rape kit showing that his DNA was not present.

Members of the Ciarion University community were not faced with an immediate threat of harm from
ivir. Haynes and ivir. Shafier and Vice President 'iripp faiied to exercise other available options they had to
separate the students so that both students could continue their education while the University
conducted its investigation and give |\/ir. Haynes the time he needed to gather evidence in his defense
Nothing in _s ai|egations, even if they were taken as true, suggested that |Vir. i-iaynes would
assault other students on campus

investigation: i'he Office of Civii Rights OCR (Dear Coi|eague Letter, 2011) requires universities to conduct
a ”prompt, thorough, and impartia|” investigation into ai|egations of sexual misconduct The documents
and depositions i reviewed showed that the University was prompt, but was neitherthorough or
impartial. Ciarion University Po|ice documents showed that there were 10 witnesses, not including the
compiainant, that may have been able to provide evidence concerning the events of October 26-27,
2013. None of these witnesses were interviewed by |Vir. Shaffer or his staff as part of the investigation
into the aiiegation and none of the witnesses appeared at the UCB hearing on December 3, 2013.
Furthermore, |Vir. Shaffer did not have _provide a written statement of her compiaint,
interview her concerning the events of October 26-27, 2013, or question her about inconsistences in her
account of the alleged assau|t. |nstead, ivlr. Shaffer reiied on what he heard as an observer at N|r.
iiaynes' preliminary court proceeding, the purpose of which |Vir. Shaffer acknowledged in his deposition
that he did not fu|iy understand

i\/|r. Shaffer denied a request from i\/lr. Haynes’ mother, i\/ls. i-iyacinth Cynthia i\/ialoner to delay the
hearing untii after the criminal proceedings in her deposition, |Vis. i\/ia|one said she pleaded with i\/ir.
Shaffer to give her son the time he needed, saying that ”i was crying. i was begging, begging, begging
i\/iott [Shaffer] to please don’t rush tojudgement. il<now my son. l know he didn't do it. l begged him to
Woit until after the criminal case." |Via|one Dep. p. 55. Despite ivis. l\/ia|one’s pleading on behalf of her
son, I\/ir. Shaffer proceeded with scheduling the hearing without regard for evidence i\/ir. iiaynes needed
to prove his innocence and without regard for the legal jeopardy i\/ir. Haynes would place himseifin by

 

 

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testifying in the University disciplinary hearing, without the benefit of fuli representation by an attorneyr
prior to a resolution of the pending criminai charges

Because Vice President Tripp and i\/lr. Shaffer suspended |V|r. Haynes under the interim suspension policy,
the University assumed an obiigation to give n/lr. i-laynes a hearing within ten business days of the
suspension in actuality, Mr. l-iaynes' ten-day interim suspension lasted for 37 calendar days
approximateiy 24 business days, some of which time I\/|r. Haynes was detained by law enforcement
authorities prior to posting bail. iVlr. Shaffer also was bound by the 60-day rule that Ciarion University
created to resolve sexuai assauit complaints (discussed iater in this report) which the institution
misinterpreted as a requirement under OCR Title |X guidelines Had i\/|r. Shaffer not rushed to have a
hearing, or if he would have granted i\/ir. i-laynes’ request for a delay, or if he would have reinstated ivir.
Haynes following his release from custody, |Vir. Shaffer would have had sufficient time to interview the
witnesses he ignored, had access to evidence from the criminai investigation - including the results of-
_s rape kit v and given |\/ir. Haynes the time he needed to prepare a defense to the student
conduct charges

Func|amental Fairness and Equai `i“reatment: At the core of all due process procedures are the principles
of fundamental fairness and equal treatment A reading of the circumstances of l\/ir. Haynes dismissal
leads me to the conclusion that the institution iaiied in providing a fundamentaily fair process and equal
treatment to i\/ir. Haynes. | reach this conciusion based on the following:

1. Mr. l-iaynes was assumed to be an immediate risk of harm to the University without justification,
depriving him of the presumption of innocence, and denying him access to his education without
any process based on an unproven claim by a singie student, that resuited in his interim
suspension

2. Dean Bornal< (Dean of Student Development, C|arion University} was assigned to advise -
_foilowing her claim ot rape. Dean Bornak accompanied _to meetings
with i\/|r. Shaffer and helped her prepare for the i.lCB he_aring. Dr. Dede was assigned as Nir.
Haynes‘ advisor or "om budsman," hut she stated in her deposition that she did not know what
subject matters she shouid address in that role and did nothing to her him prepare for his UCB
hearing She had only one meeting with him when she accompanied i\/lr. Shafferto thejali to
meet with him; she did not checi< on his welfare after he was reieased from jaii, attempt to
schedule a meeting with him, or reach out to help him in anyway.

3. Upon a request from Dean Bornai< and l\/|r. Shaffer, Dr. Dede contacted faculty members in -
-s ciasses and received special academic accommodations to help her complete her
classes and exams; no attempt was made by Dr. Dede or other administrators to offer l\/ir.
i-laynes this same opportunity

4. _was offered counseling services and an opportunity to compiete course work
online; |Vir. l-iaynes was not offered counseling services and was prohibited from completing
course work on|ine.

5. i\/lr. Shaffer's presentation of the case to the UCB on December 3, 2013 (discussecl in more detaii
below) showed no attempt to provide a neutrai and objective review of the facts He functioned

in the hearing as an advocate for_

 

 

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6. i\/ir. Shaffer interviewed lVir. Haynes only once, while l\/lr. Haynes was incarcerated and was
emotionaliy distraught -- according to Dr. Dede’s deposition.

7. When |\/ir. Shaffer interrogated ivir. Haynes in jail, he failed to inform ivlr. Haynes of his right to
have his attorney present. i-le also failed to inform him that what Mr. Haynes shared would be
used in a discipiinary hearing against him. in addition, i\/ir. Shaffer did not explain to i\/|r. Haynes
that what he told i\/lr. Shaffer was not confidential; it was subject to subpoena and disclosure in
the pending criminal matter.

8. Priorto the UCB hearing on December 3, 2013,_had a private meeting with
Clarion University President Karen Whitney. At that meeting, _reports in her
deposition that President Whitney told her that Clarion University ”will not tolerate
even having allegations [of rape] against one oftheir students”. When asked foy the piaintiff's
attorney to ciarify ii President Whitney did indeed say that Ciarion University ”woulaln't tolerate
having a student enrolled there Who had a rape allegation made against him ?”_
answered ”Correct” {_Deposition, p. 59-60).

One can only conclude from this statement that Clarion University administrators intended to
permanentiy dismiss |Vir. l-iaynes once it was known that he had been accused of rape, regardless
of the facts Aithough President Whitney does not recall making this statement, _s
one-time private meeting With the University President is likely to have left a more indelihle
memory of the encounter than President Whitney‘s recollection of that meeting more than three
years after it happened, because of the significance of that meeting to _and the
number of meetings that President Whitney has with students Regardless of what was actualiy
verbalized by President Whitney, it is clear from her deposition that_ left her
meeting with the President heiieving that iv|r. Haynes would be expelled from the University.
Presumab|y, this is why she felt no need to remain after the UCB hearing to iearn of their
decision - she believed she already knew it ~ and it may have contributed to her decision to
withdraw frorn the criminal proceedings

9. i\/|r. Shaffer, and other Clarion University administrators knew that _had a ”rape
kit” examination done and that the physical evidence from that examination could corroborate
either_s accusation or |V|r. Haynes' denial of that accusation. Rather than wait to
learn what the physical evidence of the examination showed, l\/lr. Shaffer proceeded with the
UCB hearingl The fact that he proceeded before the results of the examination where available,
and knowing fuli weil that those resuits could vindicate ivir. i-laynes, strongly suggests that
Ciarion University administrators decided |\/ir. Haynes was guilty of the accusation long before
the UCB hearing. |-iad University administrators been interested in iearning the facts and giving
l\/ir. i-laynes a fair hearing, they would have at the very least waited until the resuits from the one
piece of objective scientific evidence was availabie. lnstead, it appears that University
administrators only went through the procedural motions necessary to satisfy theirjudlcial
policies and legitimize their preconceived belief about l\/lr. Haynes’ responsibility for the alleged
conduct.

No objective review of i\/lr. Haynes's could conciude that the due process iVir. Haynes was afforded
izy Clarion University in this case met the principles of fundamental fairness and equal treatment

 

 

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Option to Vo|untariiy Withdraw from the University: One solution to the problem created by the interim
suspension was to have |\/ir. Haynes voluntarily withdraw from the University until the criminal matter
was resolved. This action would have preserved iVir. Haynes' academic standing but it Would have cost
hirn his financial investment in the academic term, delayed his graduation, and caused him to retake
courses he had by late October substantially completedl Dr. Dede reports that she made two attempts to
secure permission from i\/|r. Haynes' mother to withdraw hirn from his courses, but never raised the
Subiect with l\/lr. l-laynes. Both attempts failed and Dr. Dede had no authority to withdraw i\/ir. |-iaynes
without permission

Given the circumstances of |Vlr. Haynes' interim suspension and incarceration prior to bail, Dr. Dede’s
attempt to have l\/lr. l-iaynes withdraw was the correct action. However, she was unsuccessful in
communicating to |\/is. |\/la|one, i\/|r. Haynes’ mother, that withdrawing from classes was not an admission
of guilt but a procedural safeguard to protect |\/lr. Haynes' academic performance from suffering while he
defended himseif against the criminal and disciplinary charges lt is clear from le. Ma|one's deposition
that she did not have a clear understanding from her conversations with Dr. Dede why withdrawing her
son from the University while criminal and disciplinary matters were pending was in his best interest
l\/|ore importantly, the record did not show that anyone attempted to directly contact Mr. Haynes to
secure his permission to withdraw or to contact i\/lr. Haynes' attorney, i\/|r. |-lindman, to have l\/lr. l-laynes’
withdraw. i'\/ir. Haynes had the ability to withdraw without parental approval and an experienced
attorney, such as i\/|r. Hindman, may have been able to prevail on i\/ir. l-laynes to withdraw had his help
been enlisted by college administrators acting in Mr. l-laynes' best interests |n any event, as discussed
below, the University couid and should have remedied this situation by withdrawing l\/ir. l-laynes from his
classes once he was expelied. l-lowever, University administrators failed do so and, |Vir. l-iaynes received
an ”F” for each of his classes.

in-Absentia University Conduct Board Hearing: The Cia rion Universityludicia| Po|icy allows for an in-
absentia hearing when students are notified and they 1fail to appear. For routine matters of student
misconduct, this policy is reasonable However, to ask students facing concurrent felony charges on the
same matter to appear at a hearing without the fuil benefit of legal representation to give tape recorded
testimony that could jeopardize their legal rights against self-incrimination and other iegai defenses, is
not reasonable. Statements made by l\/ir. Haynes at the UCB hearing would have been subject to
subpoena by the District Attorney in the pending criminal matter and could have been used against him.
The seriousness of the criminal charges and the possibility of long term incarceration if convicted
precluded l\/ir. Haynes from participating in the UCB hearing without jeopardizing his defense against
those charges. l-ie was essentially asked to choose between risking his freedom or risking his education

l\/|r. Shaffer knew or should have i<nown the unreasonabie risk he was asking i\/lr. Haynes to take by
insisting that he appear at the UCB hearing while the criminal case was pending Ms. l\/laione reminded
him of this in a telephone conversation she had with him when she asked him`to delay the UCB hearing.
Before talking with |`vlr. Shaffer about delaying the UCB hearingr ivis. lvlalone talked with |\/|r. Hindman
about her son appearing at the UCB hearing i\/lr. iiindman advised her ”not to let Tafari [i-laynes] go
speak" at the UCB hearing, ”because the criminal case was going on, and anything that Tafari says in
the room [UCB hearing] they can use in the criminal hearing” (Malone Dep. p. 62). After speaking with
|Vlr. |-iindman, i\/ls. i\/ialone immediately called |\/lr. Shaffer to convey this information and ”asked him,
piease hold off until the criminal hearing And he said he couldn't. l-le said no” ld.

 

 

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As a result, the UCB hearing was held without i\/lr. i-laynes, leaving the UCB to render a judgment without
an affirmative defense from him. Although lV|r. Shaffer reported on his interrogation of l\/lr. Haynes while
|\/lr. Haynes was incarcerated, l\/lr. Shaffer's report was not a defense. |-iis recollection of his interrogation
of Mr. Haynes differs from the deposition i\/lr. Haynes provided for the current litigation, leaving open the
question of how accurately i\/|r. Shaffer was able to recall the details ofthat conversation

University Conduct Board Hearing: The transcript of the UCB hearing showed procedural and process
issues that merit concern. A|though there were some irregularities in the technical aspect ofthe hearing
about who performed what duties at the hearing, most of these are unlikely to have influenced the UCB
decision. Other irregularities in the process deviated from the principle of fair and equal treatment to the
disadvantage of i\Ar. Haynes.

1.

During the UCB hearing, and in correspondence |Vir. Shaffer chose to use the terms ”reported
survivor" and "reported perpetrator" to describe-and i\/lr. Haynes respectively1
l_anguage matters ihe word ”survivor” was advanced by sexual assault prevention educators
and advocates to define a person who survived an act of sexual violencel lt replaced the term
”victim” because the word "survivor” was more empowering to women struggling with the
trauma of rape and sexual assault. The term is highly prejudicial when used to describe a
complainant in a disciplinary proceeding it presumes that the complainant has survived an
assault before that matter is established and presumes that the accused student is the cause of
that assault. Similarly, l\/lr. Shaffer described lVlr. Haynes as the ”reported perpetrator”, a term
commonly used by law enforcement to describe a person accused of committing a crime. When
used in the context of a disciplinary hearing with a student who is presumed innocent, the term is
highly prejudicial. The terms commonly used by educators to describe a student accused of
misconduct under a student conduct code are "respondent", ”accused”, or “student charged”.
The person alleging the misconduct is commonly referenced as ”complainant” or “person
bringing the charge”.

At the UCB hearing lVlr. Shaffer reported on his recollection of the conversation he had with lV|r.
Haynes in the countyjaii. l\/lr. Shaffer presented this narrative as |\/ir. Haynes’ explanation of the
events of October 26-27, 2013 before the board heard the narrative of events from the
complainant |t is customary that the complainant testifies 1iirst to give the accused student the
opportunity to face the complainant, challenge the accuracy of statements through some form of
cross examination, and respond to the complainant without needing to guess at the scope of the
allegation The correct procedural seauencing would have allowed UCB members to have a
context to better understand conflicting accounts.

in presenting |\/lr. Haynes description of the events of Gctober 26 -27, l\/lr. Shaffer offered his own
opinion on what happened, stating that, ”i believe he i|\/lr. l-laynes] had the intention ofgoing over
there [_s apartment] for what did occur” (UCB Hearing Transcript, Dec. 3, 2013 p.
7). l\/ir. Shaffer's declaration that he beiieved |Vlr. Haynes committed the acts of which he was
accused, is highly prejudicial in a hearing where he is supposed to present evidence for the UCB
to render a decision, and according to Vice President i'ripp, is inconsistent with the neutrality that
he should have shown at the UCB hearing {`l'ripp Dep. p. 99). Furtherrnore, l\/lr. Shaffer had no
idea what lvir. l-laynes' intentions were when he went to the party at _s apartment

 

1 |n fact, in several instances, Nlr. Shafferjust referred to _as ”the survivor” and did not even
bother to use the term ”reported.”

 

 

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4. |\/lr. Shaffer took the unusual step of calling himself as a "witness”. What he witnessed was-
-s testimony at |VIr. Haynes' preliminary hearing. Rather than having-
exp|ain the circumstance that gave rise to her complaint, he attempted to summarize what he
heard at the preliminary hearingl By doing so, he denied UCB members the opportunity to judge
_s demeanor and credibility when she provided her account of the allegation

5. |Vir. Shaffer told UCB members that the credibility of_s testimony at the
preliminary hearing “wos not questioned by either the prosecution nor the defense” (UCB Hearing
Transcript, December 3, 2013 p. 7), suggesting to the UCB that her testimony was accepted as
truthful by both the prosecutor and the defendant |n actuality, credibility is note factor at a
preliminary hearing and l\/ir. Haynes' attorney made a statement at the end of the hearing
acknowledging that legal principlel i\/lr. Shaffer misunderstood that statement and thought |\/|r.
Haynes' lawyer believed-to be credible. |n |Vlr. Shaffer's deposition, he admitted
to not understanding that issues of witness credibility are not addressed in the preliminary
hearing Those issues would be addressed ata trial. Shaffer Dep.100-101.

6. The UCB was composed of l faculty member, 2 students, and 3 staff members The iaculty
member chaired the hearing, but did not vote during the deliberation Two of the 3 staff
members selected by |\/ir. Shaffer work in student affairs and are colleagues of his. They were
part ofthe Division of Student Affairs and had a reporting relationship to Vice President Tripp,
just as ivir. Shaffer did. Vice President Tripp is the same person that implemented the interim
suspension and is the person who had overall administrative responsibility 1for the University's
disciplinary process. Having these two people on the UCB is analogous to allowing a district
attorney to include two of his/her friends on a jury. Although they may be impartial, it gives the
appearance of being biased

Standard of Proof: The two most commoniy used standards of proof in student conduct hearings are
”preponderance of evidence" and ”clear and convincing evidence”. Clarion University uses
preponderance of evidence, the lowest standard possibie, which |\/|r. Shaffer defined in the UCB hearing
as, "just enough evidence to make it more likely than not that the fact that the person providing the
information seeks to prove is true” (UCB Hearing Transcript, December 3, 2013 p. 3}. The preponderance
of evidence standard is the one OCR Titie iX guidelines recommend for adjudication of sexual assault
complaints and most universities have adopted this standard to avoid potential penalties and litigation
arising from Tit|e iX sexual assault complaintsl

i\/|y opinion is that the standard of proof needed in student conduct cases should be proportionate to the
seriousness of the offence. Students accused of rape and related acts of sexual violence face permanent
expulsion from their chosen university, financial loss, loss ot reputation, loss of 1future employment
opportunities and loss of educational opportunities beyond their current institution because many
institutions, including graduate and professional programs, do not accept students for enrollment who
are ineligible to return to their previous institutions or who committed serious infractions of a student
conduct code. Using the preponderance standard to determine if an undergraduate student violated
institutional policies prohibiting minor acts ofrnisconduct, such as alcohol consumption in a college
residence hali, is not unreasonablel Using that same standard to make decisions that could
fundamentally change students’ lives and damage their future, is unreasonable

Sanction and Grades: The UCB recommended that i\/|r. Haynes be expelled permanently and this
recommendation was ultimately approved by the President. There was never a recommendation that

 

 

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ivir. Haynes receive iaiiing marks in ali of his courses for the 2013 fail term and the President did not
order this as a sanction. i\ieverthe|ess, l\/ir. Haynes, who was prohibited from completing course work or
taking exams because of interim suspension, was assigned failing marl<s in ail of his courses forthat
academic term. Receiving all ”F" grades in courses is not a sanction provided for under Ciarion’s judicial
policy and students are not responsible for withdrawing themseives from a university when they are
expelled. Expulsion is an involuntary dismissal ofa student by the university When this happens, the
university is responsible for withdrawing the student from courses with Eetter grades showing that he/she
did not complete the course. The usuai grade assigned in such matters is a ”W”, indicating that the
student withdrew or was withdrawn before completing the course.

Appeai: When criminal charges were dropped against i\/ir. Haynes and his record was expunged, he
sought reinstatement as a student at Clarion University. i-iis request was denied. He also appealed his
expuision to the President on the grounds that new evidence was available, namely the resuits of the
rape |<it showing the absence of his DNA and the decision by the District Attorney to drop ali charges i-iis
appeai was denied on the grounds that it did not fail within the 72~hour time limit for filling an appeal. At
her deposition, President Whitney seemed unaware that the Ciai”ion judicial Poiicy has an exception to
this 72-hour time limit. Whitney Dep. 108. ihe policy states:. “The university president reserves the right to
amend sanctions or grant appeals at any time for a violation of the student conduct code” (p.27}. The
appeal process provides for appeals in cases where (1) evidence not considered in the original case is now
available and (2) appeals of a decision that was not based on substantive information and evidence. i\/ir.
Haynes' appeal meets both of these criteria The 72-hour time iimit for filing an appeai cannot be read
seriously to exclude "new evidence” which becomes available after 72-hours. Such an interpretation
could oniy iead to the conciusion that the time limitations are arbitrary and capricious when new
evidence becomes available after 72~hours of a hearing is automatically inadmissible

President Whitney's decision to deny |Vlr. Haynes’ appeal is consistent with the statement that she
reportedly made to _in their private meeting By denying the appeal, President Whitney
followed through on her commitment to _to not allow any student who was aileged to
have committed rape to be a student at Clarion University

independence of Student iudicial Proceedings and Criminal Court Proceedings: Depositions and other
documents in the current litigation assert that criminal proceedings and disciplinary proceedings are
independent and that a decision made in one type of proceeding is not determinative of guilt or
innocence in the other proceedings iiowever, in this case the evidence provided at the UCB hearing was
from a preliminary court hearing and was not based on an independent investigation by the University. if
the proceedings are independent, it seems oxyrnoronic that evidence presented in the preiiminary court
hearing can be used in the UCB hearing by i\/lr. Shaffer but the dismissal of pending criminai charges by
the District Attorney cannot be used as evidence by |\/ir. Haynes in his defense. if the findings ofthe
preiiminary court hearing were dismissed by subsequent investigation and evidence, then the
information provided to the UCB was flawed and the University should consider that fact in the
determination of l\/lr. Haynes' responsibiiity for the aileged assau|t.

`i'itie iX Cornpliance

in 2011, the Office of Civil Rights, U.S. Department of §ducation, issued guidance to educators concerning
alleged acts of sexual violence under Titie iX ofthe Edacation Amendments of1972, 20 U.S.C §§1681 et
seq. The guidance was sent to educational institutions in the form of a ”Dear Col!eague i_etter”. On April
29, 2014, the Office of Civil Rights issued further clarification ofthose guidelines in the form of a 46-page

 

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document entitled Questions and Answers on Tltle lX and $exual l/iolence (avai|ab|e at:
http://wwa.ed.gov/about/offices/list/ocr/docs/qa-201404-titie~ix.pdf). |\/iost of the additional
information provided in the 2014 document was available before 2013 or was otherwise available upon
inquiry to the OCR. The 2011 and 2014 documents summarize the procedures and processes OCR looks at
when evaluating institutional compiiance with Titie |X policies concerning aliegations of sexual violence

The guidelines are not part of Title lX legislation or other Federal iaw. Nor did the guideiines undergo the
required comment and rule-making process to make them official Federal regulations The enforceability
ofthe guidelines is OCR's investigative and compliance authority to determine when in its' judgment an
institution is not in compliance with Title |X. A non-compliance violation could result in OCR assessing
monetary penalties and/or removing institutional eligibility to receive Tit|e lV funds (student financial aid).
in addition, institutions found to be in non-compliance may be subject to civii litigation and damages from
complainants who can prove that an institution's non-compiiance iniured them or that it created a hostile
environment that negatively impacted thern.

Titie iX and Stucients’ Due Process Rights: GCR guidelines acknowiedge the importance of io|iowing
Federal due process procedures to ensure that the adiudication process for allegations of sexual violence
is fair and impartiai.

The rights established under Title lX must be interpreted consistently with any federally
guaranteed due process rights Procedures that ensure the Title lX rights of the complainant while
at the same tlrne according any federally guaranteed due process to both parties lnvoived, Will
lead to sound and supportable decisions (OCR, Questlons and Answers on Title lX and $exual
l/iolence, sec. C~S; p.13, 2014}

Ciarion University did not need to compromise any of i\/ir. Haynes' due process rights to a fair and
impartial hearing to meet OCR Titie |X guidelines

interim i\/ieasures Following an Aiieged Act of Sexual Vioience: OCR guidelines do not require or
recommend that students accused ot sexual violence be suspended ior an interim period during the
investigation into the compiaint and subsequent adjudication - if merited by the investigation The agency
assumes that both students will continue to be enrolledr but recommends that universities take ”interirri
measures” to keep the compiainant and accused separated Among the actions it recommends is that
universities separate students from sharing ”the some residence hall, dining hall, class, transportation, or
job location” {OCR, Questlons and Answers on Title lX and Sexual Violence, sec. G-Z; p.33, 2014). At no
point does OCR suggest suspending an accused student for the interim period while the investigation is
conducted OCR officials recognize that there are other ways for both students to continue their
education Clarion University administrators failed to do the same.

Clarion University's 60 Day Ruie for investigation and Adjudication of Sexual Assaults: Clarion University
states that it "wl/l investigate most cases [of sexual assauitj within 14 working days hut no longer than 60
days prior to the beginning of an on~can'ipus conduct hearing” {Guide to Clarion University ludiciai Po|icy,
2013-2014, p. 37}. They justify this policy by claiming that OCR ”states that an investigation should take
no longer than 60 daysfron'i the report of an incident” (p.37}. The Clarion poiicy is based on an
incomplete reading of OCR guidelinesl What OCR actually states is:

OCR does not require a school to complete investigations within 60 days; rather OCR evaluates on
a case-hy-case basis whether the resolution of sexual violence complaints is prompt and equitable
Whether OCR considers an investigation to he prompt as required by Title lX will vary depending
on the complexity of the investigation and the severity and extent of the alleged conduct OCR
recognizes that the investigation process may take longer if there is a parallel criminal

 

 

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investigation [ernphasis added] or if it occurs partially during school breaks A school may need to
stop an investigation during school breaks or between school years, although a school should
make every effort to try to conduct an investigation during these breaks unless so doing would
sacrifice witness availability or otherwise compromise the process (OCR, Questions and Answers
on Title |X and Sexual Vio|ence, sec. F-B; p.31~32, 2014).

Clarion University did not need to rush its investigation and hearing to meet a 650-day deadline,' it could
have granted an extension to allow |Vir. Haynes sufficient time to learn the results of the rape kit and the
decision by the District Attorney to drop aii charges OCR compiiance investigations at the University of
Vermont (OCR Complaint No. 01-95-2022,' l\/iar. 27, 1995) and the University of Wisconsin» Madison {OCR
Complaint No.05-07-2071i;l~\ug. 6, 2008) are two exampies of where OCR decided that the circumstances
of the investigations needed longer to resolve and that ”a nine~month delay between filing charges and
resolution satisfies Title lX's requirement that grievance procedures be ’prompt’” (Henrick, 2013, p.16}.

Analysis and Opinion

Ethic of Caring: in her deposition, President Whitney spoke about an ethic of caring for Clarion University
studentsl As a former student affairs protessionai, President Whitney's comments accurately describe an
underlying principle of student affairs practice (Biimling, Whitt, & Associates, 1999}. Clarion University
demonstrated this ethic of caring for_ Student affairs professionals and other educators
provided-with a commendable level of care and offered her counseling, special
accommodations to compiete her course work, special accommodations to take her exams, an advisor
who took an active role in helping her, and assistance in preparing for the UCB hearing. Nlr. Shaffer even
presented a synopsis of the events of October 26 - 27 to spare her any emotional strain that she may
have experienced in describing the alleged actions of |Vlr. i-laynes.

Unfortunateiy, Clarion University did not show this same ethic of caring for i\/ir. Haynes. Rather than helping
him, the University suspended him without a hearing and before an investigation into the facts Rather
than treating him as innocent prior to his UCB hearing, the University President, according to -
- toid her that Clarion would not tolerate having any student (inc|uding l\/ir. Haynes) accused of
rape as a student at the University. Mr. Haynes was not provided with counseling, accommodation to take
his classes, help in preparing 1for the hearing, or the benefit of someone reaching out, beyond a brief
meeting at the countyjail with Dr. Dede. Ciarion University failed to meet its fiduciary duty to |\/lr. iiaynes;
instead, it abandoned him when he was most vulnerable The University's actions prior to the UCB hearing
forbid him access to programs services, resources, and friends when he most needed them. Although Dr.
Dede made two attempts to convince l\/|s. l\/ialone to have her son withdraw and despite the brief
encounter Dr. Dede had with |Vir. i-laynes at the jaii, no other attempts were made to render |\/ir. Haynes
the help he needed or to show the ethic of caring that was shown ior_

i\nr. l-iaynes is a member of an underrepresented group at Clarion University and reports in his deposition `
that he has experienced racial animus from others at the institution. l-ie is also a first-generation coiiege
student and a first-generation American citizen who comes from a financiaiiy chaiienged background
First-generation college students are among the most vulnerabie students enrolled and are more iikeiy to
drop-out of coliege than other students Financiai challenges and the need to work are part of the

reason. i-lowever, the most important reason is that first-generation students lack the family resources
necessary to heip them navigate the complexities of the university system. Clarion University i<new this
about |Vir. Haynes. l-le was an Educationai Opportunity Program (EOP) student and had an EOP counselor,
l\iir. joseph Croskey, in that program to help him while he was a studentl Rather than recognize that l\/ir.

 

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Haynes was faced with a significant challenge to navigate both the criminal court system and the complex
studentjudlciai system, Clarion University ignored his need for assistance and abandoned hintl

inherent Limitations of Student Dlsclpilnary Hearings: Student conduct hearings were never designed as a
vehlcie to adjudicate violent felonies They provide appropriate due process protections for the academic
community to address student academic dishonesty and generai adolescent misbehaviorl They are
inadequate forums to address serious criminal behavior. Students charged with vioient felonies such as
homicide voiuntary manslaughter, and rape should be adjudicated in the criminai court system where
they have all of the constitutional protections, rules of evidence, and rights of appeal afforded to them in
the justice system. The primary purpose of addressing student conduct in both administrative and
judicial board hearings is educationai. |deally, students learn through the process of being engaged in a
dialog about their behavior and by being held accountable for that behavior. Even when students’
conduct results in their suspension irorn the university for a few months, students should learn frorn that
experience and apply that knowledge when they return to the universityl |n such cases, universities
usualiy remove the notation of suspension from students’ official university records.

Permanent expuision has no educational rationale it removes students’ property rights to their
education and reputation, and robs them of many future career opportunities For this reason, all 16
member institutions of the University of i\iorth Carolina and all of the campuses of Rutgers University
eliminated ”permanent” expulsion and replaced it with a forrn of ”expulsion” that is subject to review and
readmission after at ieast two years. For students approved for readmission who return to the university
and compiete their degrees, the notation of expulsion is removed from their academic record. Ciarion
University does not foliow this poiicy or offer students an opportunity to clear their record once they are
expelied. This is a harsh penalty to be rendered in a discipiinary hearing process that inadequately
protects the rights and reputation of its students.

Student affairs professionalsJ who customarily administer campus judicial systems, are educators
knowledgeable about the developmental needs ot students, how to structure educational programs to
increase student learning, how to manage student programs and services, and how to provide students
with the heip they need to become successful productive citizens They are not trained as criminal
investigators, iawyers, orjudges. i\/iembers of disciplinary hearing boards often receive minimal training
and most are not schooied in how to evaluate evidence, how to c§uestion witnesses, and when to
challenge student conduct officers for faiiing to do a complete investigation They have iimited
experience in evaluating the honesty ortruthfulness oiwitnesses, and can easily be influenced by
emotions or comments made by a student in the heat of anger or frustration.

inadequate and |rnpersonai Appeal Process: Clarion's appeal process allows students to write an appeal
within 72-hours ofa UCB declsion, but denies them the right to be heard in person by the person acting
on the appeal. President Whitney could have responded to Mr. Haynes' appeal by ordering a further
investigation, granting a new hearing so that l\/ir. Haynes couid speak openly about the events of October
26~27, 2013, or allowing |Vlr. i-iaynes to return to Clarion and see if_still wanted to pursue
her compiaint or amend lt iri light of the new evidence and her decision to withdraw from the criminal
proceedings lnstead, President Whitney did what was administratively expedient; she opted to use the
procedural technicality of the 72~hour time iimit for an appeal as her reason for denying Mr. Haynes
request - even though Clarion's policies aliowed her to grant an appeal or change a sanction at any time
she deemed appropriatel

i\|either student conduct or criminal court hearings are infailible. l\/ilstai<es happen and innocent people
are convicted The criminal court system is repiete with examples of peopie incarcerated for felonies
only to find that years later DNA evidence or other new evidence exonerates thero. Student conduct

 

 

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hearings are no less iailible. Mistal<es are made and when new evidence emerges, universities have an
obiigation to consider it. Clarion faiied to do so for Mr. Haynes.

Conclusions

iV|y review of the depositions, hearing transcripts, exhibits, and other documents ieads me to conciude
that |Vir. Haynes did not receive fair and impartial treatment in the investigation and adjudication of the
ailegations made against him in October 2013 by_ University administrators suspended
him based on the ailegation of one student and no corroborating evidence to support that aliegation. He
was interrogated by iVlr. Shaffer while he was in jail, without benefit of an attorney, without being
informed that his statements would be used against him at a disciplinary hearingr and without being
informed that what he told l\/ir. Shaffer could be used against him in the pending criminai complaint

Prior to l\/lr. Haynes' discipiinary hearing, _met privately with President Whitney about the
rape aliegations she made against lVir. l-iaynes. _left her meeting with the President with
the belief that i\/|r. Haynes would be expelled from Clarion because the University would not toierate
even the aiiegatlon of rape made against one of its students.

i\/|r. Shaffer denied l\/is. i\/|aione's pleading to delay the UCB hearing to give her son the time he needed to
resolve the pending criminal matter and collect the evidence he needed to defend himself. With full
knowiedge that if Nir. l-iaynes testified at the UCB hearing he would jeopardize his legal rights in
defending himself in the criminai matter, i\/|r. Shaffer proceeded to hold the hearing without |Vlr. i-laynes.
When Mr. Shaffer made the decision to proceed with the hearing, he was fuiiy cognizant of the fact that
the physicai evidence from _s rape i<it was forthcoming and that the resuits from the rape
i<it could have a material impact on the outcome of the hearing either supporting _'5
ailegation or i\/lr. Haynes innocence

At the UCB hearing, l\/ir. Shaffer had an opportunity to present an unbiased account of what he i<new;
instead, he became an advocate for_ He informed UCB members that ”l believe he [lVir.
Haynes] had the intention of going over there _s apartment] for what did occur", even
though |\/ir. Shaffer had no idea of what |\/ir. Haynes intentions were, and should not have offered his own
opinion about what |\/ir. i-layes did or did not do. i\/ir. Shaffer's misjudgment went further when he
misinformed the UCB that both the prosecutor and defense at l\/lr. Haynes preiiminary hearing found -
-s account of the aileged assault to be credible, which he later admitted was a
misunderstanding of what was said at the preiiminary hearing iiven i\/lr. Shaffer’s language at the l_iCB
was prejudicial. i~le called ivlr. Haynes the ”reported perpetrator” and_the “reported
survivor”, suggesting that she had survived an assault perpetrated by |Vlr. l-iaynes.

i\/lr. Haynes could not appear at the UCB hearing and testify while the criminai complaint was pending,
and on the advice of his attorney, he did not attend the hearing The UCB proceeded without him and
l\/ir. l-iaynes was eventually expelled A notation of expulsion was placed on his official University
transcript and, because he was forbidden to take classes or exams, he received failing marks in his 2013
fall term courses. Even though the District Attorney dropped all charges and the Courts expunged ali
records ofthe criminal compiaint, Clarion University continues to maintain the record of the failing grades
and the notation of expulsion on his transcript

The results of_s rape l<it supported ivir. Haynes claim of innocencel it showed that his DNA
was not present. With ali criminai charges dropped, the record of the criminal compiaint expunged, DNA
evidence supporting his claim of innocence, and the complainant withdrawing her support for the

 

 

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criminal complaint, one would think that all of this information vindicating i\/|r. Haynes would be reievant
in seeking an appeal of the UCB decision and reinstatement in the University. But, it was not. When Mr.
Haynes brought this information to the attention of Ciarion University his request for readmission and his
appeal were both denied President Whitney denied his appeal by using the excuse that the request
came more than 72-hours after the UCB hearing ~ an arbitrary time iimit the University created to hear
appeals - even though President Whitney had the right to grant the appeal or change the sanction at any
she wished

i\/|r. Haynes suffered from the unproven accusations made by_and the unfairtreatment he
received from Clarion University. i-|e lost not only his right to continue as a student at Clarion University,
his reputation, iinancial |osses, "F” grades, a damaging notation on his University transcript, and a two-
year delay in completing his college degree, he also suffered significant emotionai damage and stress.
|\/is. |Vlaione, lVlr. Haynes mother, said at her deposition that following his interim suspension and
temporary incarceration prior to posting bail, he returned home in a ”bad state”. He would, ”yeii out in
his sieep", was depressed, would not eat, urinated in his bed white sleeping, and would not leave his
bedroom at her home. i-lis depression so bad that his mother feared he would commit sulcide.
Fortunate|y, i\/ir. Haynes received professional psychoiogicai help and is stili seeing a therapist. However,
i\/ls. N|alone reported in her deposition that since his experience at Clarion he has never been the same
person he was. The accusation, criminai proceedings, and expulsion from Clarion University changed him
in ways that makes her sad.

This did not need to happen in the way that it did Had Clarion University presumed i\/|r. Haynes was
innocent, instead ofiumping to the conclusion that he was guilty and suspending him,l allowed him to
remain on campus and continue his education, instead of prohibiting him from being on campus; offered
him counseiing and academic accommodations like it offered_ delayed the UCB hearing
until the criminai court proceedings were conciuded, or at the very ieast waited to get the results from
the rape kit examination showing that he did not commit the act of which he was accuse,' he wouid not
have suffered ail that he has suffered in my opinion, Clarion University faiied in its fiduciary duty to care
for Mr. Haynes and to treat him fairly in the University's adjudication ofthe accusations made against
him.

 

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Appendix l

1. Depositions with Exhibits for:

El.

cardamone

l\/|athew Shaffer
l<-S_
Christopher l\/lcCarrick
Tafari Haynes

Joceiind Gant

Brenda Dede

Karen Whitney

l-iarry tripp

|-iyacinth Cynthia |\/ia|one

2. l-iearing iranscripts:

E.

b.

Commonwealth of Pennsyivania vs. Tafari Andrew Haynes, Preliminary l-iearlng,
November 5, 2013
University Conduct Board Hearing of Tafari Haynes, December 3, 2013

3. Clarion University Documents

a.

qn."'>g'DcL_Oc'

Clarion Universityludicial policy

Tafari |-iaynes Acadernlc `l'ranscript

Sexual i-larassrnent Policies and Procedures

University Conduct Board Handbook

University Conduct Board i’raining

Sexual Assauit Report

`i'afari i-laynes Appeal of University Conduct Board Hearing Recommendatlon

4. Court Documents

a.
b.
c.

Expungement Order

Letter to Judge Benson on 10~4~16

Second Arnended Complaint of i-laynes vs Ciarion, U.S. District Court, Western District of
Pennsyivania 4-20-16

5. Other Documents

E.

arrest

Clarion News Article about lV|r. l~iaynes' Arrest

Chart of Students Charged with Sexual Assauits at Clarion University

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